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                     EXHIBIT 32
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                                  <Tonto }fpache <J'ri6e
                             Tonto Apache Reservation #30   •   Payson, AZ, 85541
                              Telephone: (928) 474-5000         Fax: (928) 474-4158


                                             May 31, 2017

      DELIVERED VIA FIRST CLASS MAIL
       and VIA EMAIL (trambler@scatui.net)

      Honorable Chairman Terry Rambler
      San Carlos Apache Tribe
      PO Box 0
      San Carlos, AZ 85550

                     RE:     Invitation to Discuss Gaming Compact Negotiations

      Dear Chairman Rambler:

              I am writing to invite you to meet with me and other Tonto Apache leaders to
      discuss negotiations with the State of Arizona for new tribal-state gaming compacts. As
      you may recall, I met with you on Friday, May 26 at Ak-Chin at the invitation of Tohono
      O'odham Chairman Edward Manuel and Vice Chairman Verlon Jose and we discussed
      several issues which are of importance to gaming tribes. Our tribe has been working to
      develop strategies and proposals which are of particular importance to smaller casino
      tribes to gain a greater voice in compact negotiations, including how to mitigate the loss
      in marketshare that an increase in gaming devices in the market will have on rural tribes.

              In particular, we are interested in discussing ideas and strategies that would result
      in smaller casino tribes paying less to the State in gaming revenue sharing, increasing the
      flow of revenue from statewide gaming to smaller casino tribes, and less-burdensome,
      less-costly, and more collaborative State regulation of tribal gaming for smaller tribal
      casinos. It is our goal to negotiate new compacts which benefit all Arizona tribes and
      fairly address the concerns and economic circumstances of smaller as well as larger tribal
      casmos.

              If at all possible, we would like to set up a meeting with you and other San Carlos
      Apache leaders within the next two week-preferably on or before the next Tribal
      Leaders' Meeting which is scheduled for the evening of June 15 at Talking Stick Resort.
      You will be receiving an invitation to attend that meeting as will all other Arizona tribal
      leaders whether or not you have signed onto the Phase I or Phase II negotations.




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              Please contact me at your earliest convenience on my cell at (928) 951-2844 or by
      email at cjohnson@tontoapache.org regarding whether and when you would like to meet
      to discuss these issues. I will be contacting you soon to discuss this matter.


      Sincerely,

      Tonto Apache Tribe




      Calvin Johnson, Vice Chairman




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